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¢) ). § W,[.h wa& ._.um_~:.m mo<~_._. ._.wm>> _ow
c d q 0 Cm_m m §N\ ~N\mo #v..…H.» LW~J FJN…U.. wz_n_l=:m m<zo_. .m mmlE<_._o .oFN _>_oom
, .. ... , ¥EMJU m=._._. n_O m_O_Ln-O
, 51 o 3 ,_ /_Lmomom,: , `, JH.K.. , .. ., ,
§§ U., § § ._ l § ,_ § , .,__ _ , § Qz_ ,. … ._ § .E:oo ._.UE.E.E mm._.<._.m om.:z:

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